                                     Exhibit 15

                 Transaction Diagram and Summaries of Agreements




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               Diagram of Transactions and Tables Summarizing Agreements




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                                     Service Contracts

Parties        GRS Service Corporation and the City.
               PFRS Service Corporation and the City.
Purpose        To establish and govern the City’s obligation to provide the Service
               Corporations with the funds necessary to pay the amounts due under the COPs
               and the Swaps.
Section 7.03   After making an insurance payment, Syncora is subrogated to the rights of COP-
Subrogation    holders or a Swap Counterparty.
Section 8.03 The priority of payments under the Service Contracts is as follows:
Priority    1. Contract Administration Payments;
Scheme      2. All theretofore due and unpaid Service Charges and amounts in respect of
               Hedge Periodic Payables (COP interest payment and Quarterly Swap Payment;
            3. All then due or about to become due Service Charges and amounts due in
               respect of Hedge Periodic Payables (COP interest payment and Quarterly Swap
               Payment);
            4. All theretofore due and unpaid Regular Scheduled Payments (COP principal
               payment);
            5. All then due or about to become due Regular Scheduled Payments (COP
               principal payment);
            6. All theretofore due and unpaid amounts in respect of Hedge Termination
               Payables (Swap termination payments);
            7. All then due or about to become due amounts in respect of Hedge Termination
               Payables (Swap termination payments);
            8. All then due or about to become due Option Prepayment Amounts and Accrued
               Service Charges.
Section 9.02   The City may not direct the Service Corporation to terminate a Swap without
Termination    Syncora’s consent.
or
Assignment
of Stated
Hedges
Section 9.05   The Service Contract cannot be amended without the prior written consent of
Amendment      Syncora (as a third-party beneficiary). [why as third-party beneficiary - see
               9.05(iv)]
Section 9.06   The failure of a third-party beneficiary (i.e., Syncora) to exercise any of its
No Waiver;     rights under the Service Contract does not constitute a waiver.
Remedies




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Section 9.07    The Service Contract is a continuing obligation of the City and shall inure to the
Binding         benefit of and be enforceable by Syncora as third-party beneficiary.
Obligation
Section 9.12    Syncora is a third-party beneficiary of the Service Contract and has the right to
Third Party     enforce the promises made in the Service Contract. Any amendment that
Beneficiaries   diminishes the rights and remedies of Syncora as third party beneficiary without
                Syncora’s prior written consent is acknowledged to have the effect in fact of
                hindering, delaying and defrauding Syncora.
Section 9.17    The Service Contract is intended by the parties as the final, complete, and
Integration     exclusive statement of the transactions evidenced by the Service Contract.


                           Swaps (Master Agreement) (ISDA MA)

Parties         GRS Service Corporation and SBS.
                GRS Service Corporation and UBS.
                PFRS Service Corporation and SBS.
                PFRS Service Corporation and UBS.

Purpose         To serve as a hedge and fix the interest rate on the Floating-Rate COPs.

Part 5          Events of Default/Termination Events include: (a) the Service Corporations’
Events of       failure to make any payment due under the Swaps; (b) the Service Corporations’
Default and     failure to make any payments when due in excess of $10 million; (c) the City’s
Termination     commencement of bankruptcy proceedings; and (d) the City’s appointment of an
Events          administrator of its assets.



                         Contract Administration Agreement (CAA)

Parties         Funding Trusts, GRS Service Corporation, PFRS Service Corporation, and US
                Bank (as Contract Administrator).

Purpose         To (i) appoint an administrator to collect amounts from the City (on behalf of the
                Service Corporations) and distribute Service Payments and Swap Payments; (ii)
                allow Service Corporations to make pledges; and (iii) set forth parties’ control
                rights after an Event of Default.

Section         Syncora is treated the same as the COP-holders it insures and has the right to
6.9.2(1)        provide the same consents, directions, and waivers as those COP-holders.
Control by
Majority




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Section         Syncora controls all actions that may be taken by a Swap Counterparty,
6.9.2(2)        including all directions, consents, and waivers that a Swap Counterparty may
Control by      provide.
Majority
Section 9.2     Syncora has the right to enforce any remedies relating to any collateral provided
Independent     by the City and Service Corporations.
Action by
Parties
Section 10.2    Syncora is a party-in-interest and may (i) notify the Service Corporation or U.S.
Party In        Bank of an Event of Default and (ii) request that U.S. Bank intervene in judicial
Interest        proceedings that affect the COPs, the Swaps, or the security. U.S. Bank is
                required to accept notice of an Event of Default from Syncora.

Section 10.3    Any amendment or supplement to the Contract Administration Agreement or
Amendments      either Service Contract is subject to Syncora’s consent.
Section 11.6    Any amendment entered into diminishing Syncora’s rights and remedies (as
Third Party     third party beneficiary) without its consent is acknowledged to have hindered
Beneficiaries   and defrauded Syncora.
Section         The Contract Administration Agreement is intended to be the final, complete,
11.10           and exclusive statement of the transactions evidenced by the agreement.
Integration


                                  Trust Agreement (TA)

Parties         GRS Service Corporation, PFRS Service Corporation, and US Bank (as
                Trustee).

Purpose         To appoint U.S. Bank as trustee and to provide for the issuance of
                certificates of participation representing undivided interests in certain of
                the respective payments made under the Service Contracts.
Section 802     Any Insurer not then in default under its Credit Insurance shall be treated
Insurer         as the holder if the Certificates insured by it for the purposes of actions to
Treated As      be taken by Certificateholders under the Trust Agreement and for the
Certificate-    purpose of giving all other consents, directions and waivers that
holder          Certificateholders may give.




                                  Collateral Agreement (CA)

Parties          The City, GRS Service Corporation, PFRS Service Corporation, U.S. Bank (as
                 Custodian), and the Swap Counterparties.



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Purpose          To provide collateral to secure the City’s payment obligations to the Service
                 Corporations under the Service Contracts in exchange for a waiver of the rights
                 of the Swap Counterparties to terminate the Swaps as a result of a default by
                 the City.

Section 5.1   The City shall not take any action to redirect the payment of the casino
Payment of    revenues.
Revenues
Section 5.4   No payment shall be made to the City from the General Receipts Subaccount
When Payments during certain Termination Events and/or Events of Default. (See, e.g., A&R
from GRSA     Part 1(i); ISDA MA § 5; CA § 11.6.).
Prohibited
Section 14.5  No amendment to the Collateral Agreement that would affect Syncora’s rights
No Amendment is effective without Syncora’s written consent.

Section 14.6     Syncora, as insurer, may exercise any right given to it in the Collateral
Rights of        Agreement.
Insurer
Section 14.14    The Collateral Agreement incorporates the provisions of the Swaps, the
Integration      Service Contracts, and the Contract Administration Agreement.

Irrevocable      The City must provide irrevocable instructions to each casino to deposit into
Instructions     the General Receipts Subaccount the funds that it pays to satisfy the City’s
                 wagering tax.




 Amended Swaps (Amended and Restated Schedule to the 1992 ISDA Master Agreement)
                                    (A&R)

Parties         The Service Corporations and the Swap Counterparties.

Purpose         To serve as a hedge and to fix the interest rate on the Floating-Rate COPs.

Part 5(iv)      Syncora must consent, in writing, to any modification, waiver, or amendment of
Swap            the Swap Agreement or the Collateral Agreement.
Insurer
Consent
Part 5(i)       If a Termination Event or Event of Default occurs, neither the Service
Designation     Corporations nor the Swap Counterparties can designate an Early Termination
of Early        Event without Syncora’s prior written consent.
Termination
Event




                                              5
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Part 5(x)      Each party’s representations and agreements in the Swaps are expressly made to
Represent-     and for the benefit of Syncora.
ations and
Agreements
Part 5(xi)     Syncora is an express third-party beneficiary of the Swaps with the power to
Third-Party    enforce the terms of the agreement.
Beneficiary
Part 5(xiii)   Syncora is subrogated to the rights of the Swap Counterparties against the
Subrogation    Service Corporations to the extent Syncora must make insurance payments.

Part 5(xiv)    Syncora must consent in writing to a party’s attempt to terminate the Swaps due
Designating    to an Event of Default or Termination Event.
an Early
Termination
Event
Part 5(xx)     Swap Counterparty may designate early termination date if it is not a sole
Optional       defaulting party by providing five (5) business days’ notice and setting an early
Early          termination date.
Termination


                               Forbearance Agreement (FA)

Parties        The City, the Service Corporations, UBS A.G., Merrill Lynch Capital Services.

Recitals       The Parties admit that Events of Default have occurred and are continuing under
               the Swaps.

Section 1.1    The Swap Counterparties agree to forbear from terminating the Swaps and
Forbearance    instructing U.S. Bank, as Custodian, to cease making payments to the City from
               the General Receipts Subaccount. (This is contrary to the automatic cash-
               trapping provision of the Collateral Agreement (CA) §5.4(a).)


Section 1.2    The Forbearance Agreement creates a Forbearance Period, which is a period of
Forbearance    ongoing obligation by the Swap Counterparty to support the City’s efforts to
Period         receive payments of casino revenues from the General Receipts Subaccount. The
               underlying agreements (i.e., the Swaps, Service Contracts, Contract
               Administration Agreement, and Collateral Agreement) are otherwise operable
               during this period, including the provisions in those agreements regarding
               insurance obligations of Swap Insurers such as Syncora (notwithstanding the
               release of collateral). (This is contrary to Amended Swaps (A&R) § 5(iv),
               5(d). No amendments, modifications, or waivers of the Swaps or the Collateral
               Agreement are effective unless Syncora consents in writing.)




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Section 3.1    The City may direct the Swap Counterparties to exercise optional termination
Right to       rights, which relieve the Service Corporations of their payment obligations. The
Direct Swap    Forbearance Agreement contains no provisions addressing or requiring
Counter-       Syncora’s consent to any such termination. (This is contrary to Contract
parties to     Administration Agreement (CAA) § 6.9.2(2). Syncora has the right to direct
Terminate      the actions of the Swap Counterparties.)

Section 3.5    If the City chooses to exercise its optional termination rights, the City pays
Decreased      between 75% and 82% of the mid-market value of the Swaps, with the value to
Termination    be determined on the date of the exercise of the termination option. This
Amount         payment is a direct payment to the Swap Counterparties. (This is contrary to the
               Swaps (ISDA MA) § 6(e). If the Swap is terminated early, the termination
               value is determined by reference to either market quotation by leading dealers in
               the market or the full value of the loss of the Swap.)




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